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                                                                                                                    離繭輔_室



   DEBTOR(S):上船5山恥錆.しL亀.                                           MONTHLY OPERATING REPORT
                                                                                  CHAPTER ll

   CASE NUMBER: l息当欄
                                                    戸o「m 2"A
                                               COVER SHEET

                               For Pe「iod End Date
                                                                    蛭

    A印。unting鵬th。d‥ 四㍍。,.alBas,S □cas-1BasIS



                     TH/S REPOR「 /S DUE 21 DAYS AFTER 7HE END OF THE MON7H


                                       Deb(Or mUSl attaCh eaC)l Of "e fo=owlng CIocuments un ess用e U・ S‘ T山Stee

                                       haS Wajved the 「e坤rerr'en=∩ 、面ing Fくくe the ong一nal wlth the Cle「k of Court

                                       SしJbmi! ; dしjPllCa(e. wlth onginaI si9鴫ture言O the U S T川Stee.
          辞百㌔㌔虻田百財




                                       当. Cash Receipts and Disu「sements Statement (Fo「m 2-B)


                                       P2. Balance Sheet (Form 2-C)


                                       9’3, Profit and Loss Statement (Fo「m 2-D)




                                       互Supporting Schedules (Form 2・E)


                                       も. Qua「te「ly Fee Summa「y (Fo「m 2-F)


                                       も. Na「「ative (Fo「m 2-G)



                                       7. Bank StatementS fo「 A= Bank Accounts

                                            (Redect aI/ bu! /as! 4 d/gI〈s o[ accol/nt numbe子a/了d伯mOVe Chec柄mages)
                                       P8. Bank Statement Reconc=iafrons for all Bank Accounts


                                        9 Evldence o自nsurance fo「 all po=cies 「enewed o「 「eplaced during month




    I dec佃re under penaIfy o予peI和γ章ha待heわI′。Wing Month/y Opeγa章ing Reporf, and any

    aftachments ihe鳩to ∂re !rue, aCCuraきe and correct fo約e best ofmy knowledge and beIie手


                     ll挫         Print Name:




                                 丁鵬:曲   臆    臆 臆臆臆臆臆臆臆臆
                                                                                                   Page23
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  DEBTOR(S〉:"ぞ敢)急-しhh onしm cASE NO‥  Va- 1C角㈱イ

                                                戸om2“B
                               CASH RECEiPTS AND DISBURSEMENTS STATEMENT
                                         For Pe軸曲-to t申叫愴

  CASH FLOW SUMMARY                                                      Current
                                                                         Month     Accumulated

  ZI・ Beginning Cash Ba-ance
                                                                 $U貌工電場1) $刷1)
  セ. cash Receipts

        Ope 「ati ons

        Sale of Assets
        」oans/advances
                                                                   ′駆れ∞ ∵

                                                                                     $轄
        αhe「

        ￣fotal Cash Receipts
                                                                 $亀虫∩蝕つで
  ℃. cash Disbu「sements
        Ope「a鵬ons
        Debt ServiceISecu「ed loan payment

        P「ofessional fees/U.S. Trustee fees

        P「ofession fees paid f「Om Retainer (e.g. COL丁AF acct)
                                                                    qてら・￣   飾執る鳴
        αhe「恒細雨蛤
                                                                 $基盤藍$鞄
  も. Net Cash FIow (l請al Cash Receipts less

         lbtal Cash Disbursements)
                                                                   豊国堅墨翌容 認商圏園田
   5 Ending Cash BaIance (to Form 2-C)                           $榊2) $榊)
   CASH BALANCE SUMMARY                                                                    B○○k
                                                         Financial lnstitution            Ba看ance



     Petty Cash

     DiP Ope「ating Account                                                                ∠韓覚る・〇年
     DI P State Tt]X Account

     DIP Payroli Account

     Other Operating Account

     Retainers heId by professionals (i.e. COL-IAF)


     丁OIA」 (must ag「ee with Endlng Cash Baiance above)                               $ 隼狩る・0録2)

   (1) Accumu/ated beg‘ming cash煽lance /S the飴sh a胎〃abIe at the comme催ement of fhe case and /etainers.
      CL/Irent mOnth be少ming cash ba/ance shou/d equa/勅e previous mor)t碕ending ba/ance.

   ㈲ A// GaSh ba/ances shou/d be fhe same.

                                                                                      Page24
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  DEBTOR(S凧翰3山ヤl?也しm cASE NO:駐一間

                            CA豊富駐韓畢STATEMENT

   CASH DISBURSEMENTS DE丁AI」                                    Account No:
   佃櫓ach a駒nal sheets as necess∂ry)



    i Daねl恒i                                                                                          Amou nt


    国利は 榔 匝船N肘“                                               博¥沿⊂亀一心にで $押下年
    中小8軸 淀出                                                   賦l嗣∞一私通で 飯洩ら.C金

     国却18 110ら Ue恨鴫
                                                              町碑糾う・￣




                                                            Total Cash Disbursements   $軸1)



   (1) 7bfa/ for a〃 accounts shou畑agree wi書h (ota/ cash disbu/Seme庇S 〃sfed on Form 2-B, page l

                                                                                             Page26
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  DEBTOR(S): ¥¥往D en山やr¥?出しL(1                                                           CASE NO:  低まQaし度爪執1
                                                              Form 2“C

                                          COM PARATIVE BALAN C                     SHEET
                                           For Period Ended:
                                                                                                 Cu「「ent          Petiti      on

  ASSE「S                                                                                          Month         Date     (1   )
  Cu「rent Assets:



                                                                                         濫読$ 、珊悌
   Cash (from Form 2-B, line 5〉

   Accounts Receivabie (f「om Form 2-E)

   Receivabie f「om orfice「s, EmpIoyees, A冊iates
   i nvenね「y

   Other Current Assets :(List)


       丁otai Current Assets                                                              $14蝕.つに$ 患 .亀
  Fixed Assets:
   Land                                                                                  $
   Building                                                                               も協0.∞○ $ ∪.敦⊃.0∞
   Equipment, Fumitu「e and Fix[u「es

       丁otal Fixed Assets

   Less: AccumuIated Dep「eciation                                                        (      )                 (      )


       Net Fixed Assets                                                                  $め恩賞)・C寄D $哩
   Othe「 Assets (List):




       TOTAL ASSETS

  L/ABILI7YES
                                                                                         岬・舞                            。 。山 口 了曽1


   Posしpetition Accounts Payable (from Form 2-E)
   Pos巾etition Acc「ued ProfesionaI Fees (from Fo「m 2-E)                                      /か鈍め斬
   PosトPetition Taxes PayabIe (from Form 2-E)

   PosトPetition Notes Payabie

    Other Posトpe捕on Payable(List):




       Totai Post Petltion Liab川ties                                                     $榊$言 争
  P「e Petition Liab硝ties:

    Secu「ed Debt
    P「iorfty Debt                                                                          う,5るl,凄患.伺 う軍治時寿命イ種
    Unsecu「ed Debt
                                                                                             し、柳.〇〇〇.一 l.槻,ロコ⊃・￣
       丁otaI P「e Petition Liabilities                                                     $         $

       TOTAL LiABiLITIES                                                                  $岬.ノ輯子牛噸接地.4n
  O WNE層S ’どQuけγ
    Owne「’s/Stockhoider’s Equrty                                                          $          $
    Retained Earnings - P「epe輔on
    Retained Eamings - PosトPe輔on


       TOTAL OWNERS’EQu看TY                                                                $崎II〆持合鴫$ 恒抑しろ・「ら
       TOTAL 」IAB!LiTIES AND OWNERS’EQUITY                                                軸.′祉$晒岨
  (1) Pefifion date va/t/eS ane faken from fhe Debtoγさbalance sheet aS Of the pet;f/on defe ar ∂re肌e va/ues

     lisfed on #)e Debforts scんedule含


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  DEBTOR(S〉: ¥¥朝D ehJ曲h?b u上、.   cASE NO: ¥e)-¥CR歴Te買

                                                      Form 2・D
                                       PRO円T AND 」OSS STATEMEN丁
                                       ForPe「iod REto蝉-
                                                                              Cu「rent           Accumulated
                                                                              Month               「btaI (1)



  Gross Ope「ating Revenue

  Less: Discounts, Re山ms and AIlewances


         Net Operating Revenue                                      $ 倒                     $ q
   C0St Of Goods SoId

         Gross Pro簡t                                                $ ⊥鉾_ー_                 $ 錆
   Ope「ating Expenses
     O輔ce「 Compensation                                             $                       $

     Se冊ng, GeneraI and Administrative

      Rents and Leases
      映甲動画00, D鵠謂蓋巾かn
      O請e「 (list):

                                                                         倒船生乳                   81らし. 0る

     Totai Ope「ating Expenses                                                               日報金丸心越も
         Operating看ncome (」oss)                                      $一触缶きし                 $銭金性質う
   Non-Operating lncome and Expenses
      Othe「 Non-Operating Expenses                                   $                      $
      Gains (Losses) on Saie of Assets
      l nte「est lncome

      i nterest Expense
      Other Non-Operating lncome                                                                l鉛ノ思〇 ・￣
      Net Non-Ope「ating lncome or(Expenses)  $ g                                            $車○ごくココ) ・￣
   Reo「ganization Expenses

      Legal and P「Ofessional Fees                                                           $草城純綿
      Othe「 Reorganization Expense


      丁otaI Reorganization Expenses                                                         閏堅塁堅塁国
         NetIncome 〈Loss) Before -ncome Taxes  $ Q;                                         $

   Fede「al and State lncome Tax Expense (Benefit)


         NET iNCOME (」OSS)        $二つ亀l弁午轡2.                                                $壁ろ章Q讐

   (りAccu肋uねfed To鰭/s jndかde a/l /eVenlJe and expenses s初Ce the pefjかan daぬ




                                                                                        Page 28
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                                                                                                                     艶繭融融篤




(1) For行rst report,的e beg加n加g ba佃nce m coIumn 7 wi〃 be $0;的erea姥eらbegi乃ning加/ance w〃I be ending bahnce from prior repor書,



                                                       ひ        ≠  青   河    舘                             綴綴.懸※懸畿懸灘擬態擬態薫

      ￣fypeofinsurance       Insurancecar「ier      Coverageamount    Policyexpirationdate        P「emiumpaidthrough  date


Workers’compensa僧on          心IA
Genera川a    b掴廿     寡こ▲・●細筆、後」鴨                                 1.船.蝕⊃  2)  lつむIIQ                           lll     ユ鼻音ll鼻
P「OPerty(fire,theft,etC.) 「測隠議書管                               主調でゞ0〔X⊃   ら  書寄るlm                            11書     王ら「lら
Vehicle                      N        IA                 一     〇                                             l    "
Othe「伸st)                Ⅲ       A
αhe「(Iist)            鴨￣)△
/fanypo/icieswererenewedorrep/aceddL/ringr印ortingpehod,atfachnewce万/#              CateOf/nsurance.




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                                                                                                             艶的融瀧窓




             翔   灘緩総統懸騒議題     黎淡鱒線鰯謡熟翳弼綬鍵鎚遊慈  i     輸瀕譲綴蜜綴鶴髄鞘綴鰯鰯   凍懸綴’脳髄綴綴鱒’…燐.“        縦撚綴態離綴綴綴騨麟 栄￣￣,     畿 擬態擬態き緩発議
                                                                        熱  砂 ッ 恥 の



                                     30daysoriess   3=060davs      6=090davs         ○ve「90daYS    Tbtalatmon廿Iend

Pre-Peti             OnreCeivables    〇〇〇〇〇〇〇““"〇〇〇         一一一一〇●        一一一一重〇〇〇〇〇〇             l盤で帆.曾1       1脅軸.亀
Pos巾eti                        tionreceivables               心IA          NIA           心IA       Nl心           NIA
丁otai                                幽          め ′             星空               l馳.亀倉                   l臼砲.つ,1




                                            称




                                      Month-end     Cu「「ent        Paidin       Cou「tApp○○vaI           Month-end

                                       Retainer      Month’s        Current

                                       Balance       Acc「ual           Month           Date       BaiaれceDue★

Debtor’sCounsei                             $  の          $曾帯同もらで                       $ (あ                 $桝櫓8.
Counseifo「Unsecured                                             ′

    C「editors“Committee

T「ustee,sCounsei

Accountant
0請e「:

丁ot尋l                         $        ￣●糠でi



                                                                ’麗擬態懸鰯霧緩蘭悶爛’,撥蔑綴隠藤懸蟻

             PayeeName                     Posi(ion             NatureofPayment                         Amount
                                                                                                    $  __■



                                                                ■話豊国i亘



                 一一一一「




                                                                                              Page 30
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                                                                                                                     彊撹鵬鵬忠篤
   DEBTOR(S): "雀D e阻止¥h q也しl玉,                                               CASE NO: ¥8-1酬

                                                          Fo「m 2"F


                                        Fo霊嵩認諾SU軸
                                                  Cash                     Quarte riy                                Date
Month         Year                        Disbursements **                 Fee Due          Check No.                Paid


Janua「y
Feb「ua「y
Ma「c h  2ee」                               亀0亀・aO
   llO「AL l st Q」arter
                                                                       叶萱盈二「 l軸〇〇〇〇車中恰
                                      $ 1る②しろも
                                        (〆やめ:￣lう
                盤 T0RAL 2nd Qua「ter    「書粍〕8. q¥
                                                                       $蛾ニ_○ ○l堕し〇千llら桓臆
J uIy   ?O¥ら
August
                                      $架親純
s。。,。mb。「盤
   lて汀AL 3「d Quarte「                  $豊 $_曲二咄〇〇〇〇」斡○○
∞肋e「 つ018                             $敦丸み〔会.きし
Novembe「
Decembe「


   T(mL 4th Quarter

…DULE /as ofJANUARY l, 20081
that may occur fo 28 U.S.C. §1930(少(旬
Qua「teriv Disbu 「sem。ntS E皇室                                              Quarterlv Disbu「senlentS                     腫圏
$0め$14,999…………..…  $325                                                   $1,○○0,000め$1,999,999,.,………                   $6,500
$1 5,〇〇〇め$74,999.....…. $650                                              $2,000,000め$2,999,999…○○.……                   $9,750
$75,000 to $149,999…....  $975                                            $3,000,000 b $4,999,999……._.…                $1 0,400
$150,000ぬ$224,999,.… $1,625                                               $5○○00.000 t° $14,999,999 i……                $13、000
$225,000め$299,999…‥  $1 ,950                                              $15,000,000 to $29,999,999‥‥                 $20, ○○0
$300,000 b $999,999○○… $4,8了5                                             $30,000,000 0「 n調「e                          $30,000




★ ¶is sumrTra「y is to 「eflect the cur「ent caIenda「 yea「一s informafron cumufative to the end of the 「epo軸ng period



★★ Shouid ag「ee with line 3, Form 2-B・ Disbu「SementS are net of transfers to other debto「 in possession bank accounts




Fai/ure to pay the quarte砂fee /s cause for conveISion or鵬missa/ of幼e chapter 71 case. [11 U.S.C. Sec. 7112(b)(1O)]

/n a(郷的n, unpa紺fees aI℃ COnSjdered a debt o鵬d fo the Unifed Sfafes and w細be assessed /nterest under 31 u.S.C.?371 7

                                                                                                     Page31
                                                                                                     尺ev.1115114
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                                                                                                                艶繭融鵜轡


       DEBTOR(S):l旧敵¥ 3しh袖∩?出し雌, CASENO‥恰一l酬
                                                      Form2-G


                                  F軸d開脚二三子
       Please provide a brief desc向ation of anysignificant business and legaI actions taken by肌e debtor, its creditors,

       0「 the court du血g the 「eporting period, anyunuSuaI o「 nonィecurring accounting transactions that a「e reported in

       the financiai state11絶ntS, and any sign摘cant changes in the financial condition of the debtor which have occurred

       SuSequent to the report date.




                                                                                                Page 32
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                                                                                                                                 ↑ゆ卜①丁乙O寸卜S寸寸甲の∽卜や∞卜∞
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                                                                        Business Banking Statement


宙龍                                                                                     October 31, 2018
                                                                                             Pagel of3


                                               醒
      1675 1ABO.4O8 T6F,2 AUTO I RTMIX T lOlOOOOOREMT1 94437402

      11380 SMiTH ROAD, L」C
      CASE#1 8-1 0965TBM
      DEBTOR IN POSSESSION
      l1380SMi丁H RD
      AURORA CO 80010-1406                                                                          Ouesi細ns or commenお7
                                                                                        Call our Key Business Pesource Center
                                                                                             ○ ○888-KEY4BiZ (「 -888-539-4249)

      11両II一冊=冊l-看=1,旧tlIll"1,IIl11出回il一,l冊町




                                       E方仰〃励On〃7e B尋n肋昭tOくねy轡t燈明COm・
             Ac∞ss J,Our al伯偽b応accom密タかansねr fi〃7dまand L”ew J,Our加ensac〃dns旬伽加m J/OW PC




Key日ank Basic Business Checking 7610「 1004022
11380 SM廿H ROAD, LLC                                       Begin両g balance 9葛30-18                                 $6,32了,86
CASE榊8-1 0965TBM                                                                                                  十28,700.00
                                                           1 Addition
DEBTOR IN POSSESS10N                                                                                              -30,669. 82
                                                           3 Subt「actions
                                                                                                                       -23.00

                                                           営器講龍-「 8                                                $4,335. 04




Addition$
              Dep。Sits Da胎  Seri飼I #          So urce

                       1 0-9  6048            曲LTec PIastics 6487
                                              Total additions                                                      $28タ700.00



-Subtractions

Paper Checks    * check missing舟’Om SeqL/er]Ce



 Check        D負te        Amount
      08     1○○29
                                                                                  Pape「 Checks Paid      $975"00



            Vl〃thdI頓Wa/s Date Seria/ #          Location

                        10-3                    Direct Withdrawa上Cit        Auro「a lvr Pa
                                                Direct Withdr劉生I, Xcel Energy葛Psc畦                                   28,865.08
                        1○○12

                                                Total subtractions                                                  王将0,669.82




761011○○4022 - 00618
「38
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                                              11380 Smith Rd, LLC
                                            Reconc=iation Deta=
                                       KeyBank #4022, Period Ending lO/31I2018



                                                                                                    6,327 86



                                                                    X         -829.74        -829.74
                                                                    X      -28,865 08      -29,694.82




          TotaI Checks and Payments

       Deposits and Credits " 1 item
  Deposit l O109/201 8

          Total DeposItS and Credits                                             28,700.00      28,700 00

       丁otai CIeared Transactions                                                -1,992.82       -1,992 82


  Cleared Baiance                                                                -1,992.82       4,335 04


        Uncleared Transactions
           Checks and Payments " 1 item
  Biii Pmt -Check lO115/2018   TBD                                               -6,044.52       -6,044.52


          Total Checks and Payments                                              -6,044 52       -6,044.52


       TotaI Uncleared Transactions                                              -6,044.52      -6,044.52


  Registe「 BaIance as of lO131/2018                                              -8,037 34       -1,709 48


  Ending Baiance                                                                 -8,037.34       -1 ,709.48
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                              11380 Smith Rd, LLC
                          Reconc帥ation Summary
                       KeyBank #4022, Period Ending lO/31/2018
